                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF OHIO

 IN RE:                                          )     CASE NO.: 22-10571
                                                 )
 MATTHEW M. MOTIL,                               )     CHAPTER 7
                                                 )
          Debtor.                                )     JUDGE SUZANA KRSTEVSKI KOCH
                                                 )
                                                 )     AMENDED APPLICATION OF TRUSTEE
                                                 )     VIRGIL E. BROWN JR. FOR AN ORDER
                                                 )     TO EMPLOY SPECIAL COUNSEL TO
                                                 )     PURSUE CLAIMS ON A CONTINGENT
                                                 )     FEE BASIS

       Virgil E. Brown, Jr., the Trustee is this matter, moves the Court for an Order permitting

the Estate to employ Scott A. Norcross and Brennan Manna Diamond, LLC (“BMD”) as Special

Counsel to pursue certain claims belonging to the Estate. In support of this Application, Brown

states as follows:

1. Virgil E. Brown, Jr. is the Trustee (the “Trustee”) in the within case, which was commenced

   by the filing of a voluntary petition for relief under Chapter 7 of the Bankruptcy Code on

   March 7, 2022 (the “Debtor’s Case”).

2. On September 30, 2022, the United States Trustee timely filed the Complaint to Deny

   Discharge Pursuant to 11 U.S.C. § 727 (the “Complaint”) pursuant to the agreed order

   entered on September 19, 2022. Docket No. 1; Bankr. Case No. 22-10571-(AIH), [Doc. 85].




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3. On February 14, 2023, the United States Trustee timely filed the Amended Complaint to

   Deny Discharge Pursuant to 11 U.S.C. § 727 (the “Amended Complaint”) pursuant to the

   Order entered on January 13, 2023, the Order entered on January 20, 2023, and the Agreed

   Order Granting the United States Trustee’s Motion for Leave to Amend the Complaint. [Doc.

   Nos. 22, 33, 39].

4. On March 10, 2023, the Defendant timely filed the Defendant’s Answer and Affirmative

   Defenses (the “Answer”). [Doc. 42] (Henceforth, “Answer”).

5. There appears to be claims and property belonging to the Estate which must be administered

   and disposed of by the Trustee, including, but not limited to, a vehicle and malpractice claim.

6. The Trustee previously requested to employ Kohrman Jackson & Krantz (“KJK”) [Doc. 135]

   but the attorneys, including Attorney Norcross, the Trustee works with at KJK have now

   moved firms to BMD. Accordingly, the Trustee now requests the appointment of BMD to

   serve as counsel for the Estate under the same terms as previously agreed with KJK.

7. BMD has experience pursuing claims belonging to an Estate. BMD reviewed the Petition,

   identified the existence of claims, and advised the Trustee about the potential of recovery of

   money for the Estate and the benefit of the Debtor’s creditors.

8. The trustee hereby requests to be authorized to employ BMD on the same terms and

   conditions set forth in the contingency fee agreement (the “Fee Agreement”) attached to the

   application to employ KJK [Doc. 135] as Exhibit A.

9. The Fee Agreement calls for a contingency fee of Thirty-Five Percent (35%) of any gross

   recovery, plus the reimbursement of costs and expenses. This is a standard and customary

   agreement for such claims pursued by BMD.




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10. It would be in the best interests of the Estate and creditors if this Court authorizes the

   employment of BMD and authorizes the payment of fees and expenses of BMD pursuant to

   the Fee Agreement.

11. No fees and expenses will be paid to BMD absent further Order of this Court. No fees or

   expenses shall be shared with third parties other than the members or associates of BMD.

12. To the knowledge and information of the Trustee, based on information provided, BMD has

   no interests adverse to the Debtors’ Estate and creditors.

                                     Loval Rule 9013-1(b) Notice

       Parties wishing to object to or oppose this application must file a response within

fourteen (14) days after the date of the certificate of service noted below, or July 3, 2024. If no

party objects or otherwise opposes the application within that time period, it may be granted

without further notice or hearing.

                                                       Respectfully submitted,


 Dated: June 19, 2023                                    /s/ Virgil E. Brown Jr.
                                                        VIRGIL E. BROWN JR. (0003675)
                                                        4070 Mayfield Road
                                                        Cleveland, OH 44121
                                                        Virgil@vebtrustee.com




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                               CERTIFICATE OF SERVICE

        I hereby certify that on June 19, 2024, a copy of the foregoing Amended Application to
Employ Special Counsel was served via the Court’s electronic filing system and/or email on these
entities and individuals:

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                                                   /s/ Virgil E. Brown Jr.
                                                   Virgil E. Brown, Jr. (0003675)




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